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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

 MOHAMMED A TIPOO
                                                          Civil Case Number: _________________

                       Plaintiffs,
                                                                    CIVIL ACTION

                    -against-                                     COMPLAINT
                                                                     AND
 PORTFOLIO RECOVERY ASSOCIATES,                              DEMAND FOR JURY TRIAL
 LLC and JOHN DOES 1-25

                       Defendants.


       Plaintiff , MOHAMMED A TIPOO (hereinafter, “Plaintiff”), a New York resident,

brings this complaint by and through his attorneys, Marcus Law, LLC, against Defendant

PORTFOLIO RECOVERY ASSOCIATES, LLC and JOHN DOE (1-10) (hereinafter

“Defendant”), individually based upon information and belief of Plaintiff’s counsel, except for

allegations specifically pertaining to Plaintiff, which are based upon Plaintiff’s personal

knowledge.

                                     JURISDICTION AND VENUE

   1. The Court has jurisdiction over this action under 28 U.S.C. § 1331 and 47 U.S.C. § 227.

   2. The Court also has supplemental jurisdiction under 28 U.S.C. §1367.

   3. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(a)(2), 1391(b)(2)

       because this is the judicial district in which a substantial part of the events or omissions

       giving rise to the claims in this case occurred.

                                            PARTIES

   4. Plaintiff is a natural person and a resident of the Atoria, New York.

   5. Plaintiff is the “called party” with respect to the calls placed on his cellular telephone
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    number (718) 204-7784.

 6. Defendant Portfolio Recovery Associates, LLC (“PRA”) is a Virginia Corporation with

    its principal place of business at 140 Corporate Boulevard, Norfolk, Virgina 23502.

 7. John Does 1-10, are fictitious names of individuals and businesses alleged for the purpose

    of substituting names of Defendants whose identities will be disclosed in discovery and

    should be made parties to this action.



                               NATURE OF THE ACTION

 8. Plaintiff brings this action individually seeking redress for Defendant’s actions which

    violate the Telephone Consumer Protection Act, 47 U.S.C. §227 (hereinafter “TCPA”).

 9. The regulations under the TCPA prohibit calling a cellular telephone with an auto-dialer

    without prior express consent.

 10. The regulations under the TCPA further prohibit calling a cellular telephone with an

    auto-dialer after prior express consent was revoked.

 11. Section 47 U.S.C. §227(b) of the TCPA provides “[i]t shall be unlawful for any person

    within the United States, or any person outside the United States if the recipient is within

    the United States…to make any call (other than a call made for emergency purposes or

    made with the prior express consent of the called party) using any automatic telephone

    dialing system or an artificial or prerecorded voice to . . . .any telephone number

    assigned to a paging service, cellular telephone service . . . or any service for which the

    called party is charged for the call;”

 12. Upon information and belief, the Defendant has recently called the Plaintiff’s cell phone

    in violation of the TCPA over one hundred (100) times.
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 13. Plaintiff is seeking damages, and declaratory and injunctive relief.



                                ALLEGATIONS OF FACT

 14. Upon information and belief, on or about January of 2012, Defendant began a telephone

    campaign by calling the Plaintiff’s cellular telephone number.

 15. These phone calls were made several times a day, on a daily basis, with such frequency

    as can reasonably be expected to harass.

 16. The calls came from several different phone numbers including but not limited to 757-

    506-0177, 731-577-4171, 205-484-0134 and 731-410-3139.

 17. Soon thereafter the Plaintiff answered one of the phone calls and the Defendant stated

    that they wre looking for Marcy from Far Rockaway, NY.

 18. During the phone call the Plaintiff explicitely told the Defendant that they had the wrong

    number and to stop calling his cellular telephone.

 19. For a short period of time the calls ceased.

 20. Several months later the calls started again.

 21. On or around December of 2013, Plaintiff again answered and was told by the Defendant

    that they were looking for Marcy from Far Rockaway.

 22. Plaintiff again told Defendant that they had the wrong number and to stop calling his

    cellular telephone.

 23. Defendant had ignored Plaintiff’s request and continued to call Plaintiff’s cellular phone

    numerous times on a daily basis.

 24. On or around December of 2014, the Plaitniff again answered one of the calls from the

    Defendant and stated that they had the wrong number and to stop calling him.
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 25. Defendant had ignored Plaintiff’s request and continued to call Plaintiff’s cellular phone

    numerous times on a daily basis.

 26. Upon information and belief Defendant has called Plaintiff over one hundred (100) times

    within the last four (4) years.

 27. The telephone calls at issue were placed by Defendant using an automated telephone

    dialing system (hereafter “ATDS”) in violaition of the TCPA.

 28. The ATDS used by Defendant has the capacity to store or produce telephone numbers to

    be called, using a random or sequential number generator.

 29. Defendant initiated each of the calls at issue to Plaintiff’s cellular telephone without the

    prior express consent of Plaintiff.

 30. Additionally, almost all of the calls at issue were placed after Plaintiff told the Defendant

    to stop calling his cellular telephone.

 31. Despite actual knowledge of its wrongdoing, Defendant continued its campaign of abuse.

 32. As a direct and proximate result of Defendants acts or omissions, as set forth herein,

    Plaintiff has suffered compensatory, statutory, and actual damages.



                                      CAUSES OF ACTION

                                   COUNT I
       NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                              47 U.S.C. § 227 ET SEQ.
 33. Plaintiffs incorporate by reference all of the above paragraphs of this Complaint as

    though fully stated herein.

 34. The foregoing acts and omissions of Defendant constitute numerous and multiple

    negligent violations of the TCPA, including but not limited to each and every one of the
    above-cited provisions of 47 U.S.C. § 227 et seq.
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  35. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is

     entitled to an award of $500.00 in statutory damages for each and every violation,

     pursuant to 47 U.S.C. § 227(b)(3)(B).

  36. Plaintiffs is also entitled to and seek injunctive relief prohibiting such conduct in the

     future.


                                COUNT II
KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                            47 U.S.C. § 227 ET SEQ.
  37. Plaintiffs incorporate by reference all of the above paragraphs of this Complaint as
     though fully stated herein.

  38. The foregoing acts and omissions of Defendant constitute numerous and multiple

     knowing and/or willful violations of the TCPA, including but not limited to each and

     every one of the above-cited provisions of 47 U.S.C. § 227 et seq.

  39. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,

     Plaintiff is entitled to treble damages, as provided by statute, up to $1,500.00 for each and

     every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

  40. Plaintiffs is also entitled to and seek injunctive relief prohibiting such conduct in the

     future.
                                   PRAYER FOR RELIEF
     WHEREFORE, Plaintiffs respectfully pray for the following relief:

     a. On the First Count for Negligent Violations of the TCPA, 47 U.S.C. §227 et seq.,

         Plaintiff seeks $500.00 in statutory damages, for each and every violation, pursuant

         to 47 U.S.C. § 227(b)(3)(B) as a result of Defendant’s negligent violations of 47

         U.S.C. § 227(b)(1); (ii) injunctive relief prohibiting such conduct in the future

         pursuant to 47 U.S.C. § 227(b)(3)(A); and (iii) any other relief the Court may deem

         just and proper; and

     b. On the Second Count for Knowing and/or Willful Violation of the TCPA, 47 U.S.C.
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           §227 et seq., Plaintiff seeks up to $1,500.00 for each and every violation, pursuant to

           47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C) as a result of Defendant’s

           willful and/or knowing violations of 47 U.S.C. § 227(b)(1); (ii) injunctive relief

           prohibiting such conduct in the future pursuant to 47 U.S.C. § 227(b)(3)(A); and any

           other relief the Court may deem just and proper.

                                DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs, on behalf of

themselves and all others similarly situated, demands a trial by jury on all questions of fact raised

by the complaint.




Dated: May 20, 2015                                   s/ Ari H. Marcus, Esq.
                                                      Ari Marcus, Esq.
                                                      MARCUS LAW, LLC
                                                      1500 Allaire Avenue, Suite 101
                                                      Ocean, New Jersey 07712
                                                      Telephone: (732) 695-3282
                                                      Facsimile: (732) 298-6256
                                                      Attorneys for Plaintiff

                      CERTIFICATION PURSUANT TO LOCAL RULE 11.2

       I, Ari H. Marcus, the undersigned attorney of record for Plaintiff, do hereby certify to my

own knowledge and based upon information available to me at my office, the matter in

controversy is not the subject of any other action now pending in any court or in any arbitration

or administrative proceeding.

Dated: May 20, 2015



                                              /s/ Ari Marcus
                                              Ari Marcus, Esq.
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                          DOCUMENT PRESERVATION DEMAND

        Plaintiff hereby demands that each defendant take affirmative steps to preserve all
recordings, data, documents, and all other tangible things that relate to plaintiff, the events
described herein, any third party associated with any telephone call, campaign, account, sale or
file associated with plaintiff, and any account or number or symbol relating to them. These
materials are likely very relevant to the litigation of this claim. If any defendant is aware of any
third party that has possession, custody, or control of any such materials, plaintiff demands that
defendant request that such third party also take steps to preserve the materials. This demand
shall not narrow the scope of any independent document preservation duties of the defendants.


                                                      /s/ Ari Marcus
                                                      Ari Marcus, Esq.
